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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SCOTT LEVINE,                                :
          Plaintiff,                         :           CIVIL ACTION
                                             :           No. 14-4729
              v.                             :
                                             :
TEMPLE UNIVERSITY,                           :
          Defendant.                         :


                                          ORDER


       AND NOW, this __3RD ____ day of ___November___________, 2014, it is ORDERED

that Defendant Temple University’s Motion to Dismiss Plaintiff Scott Levine’s Complaint (ECF

No. 15) is DENIED AS MOOT in light of Plaintiff’s First Amended Complaint (ECF No. 16).



                                                         s/Anita B. Brody

                                          ____________________________________
                                          ANITA B. BRODY, J.




Copies VIA ECF on _________ to:                          Copies MAILED on _______ to:
